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 5
 6    ATTORNEY FOR Defendant,
      TERRY LEE WALLACE
 7
 8                                 UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
10                                               ******

11    UNITED STATES OF AMERICA,                            Case No.: 1:17-CR-00173-2 DAD-BAM
12                   Plaintiff,                            STIPULATION AND ORDER TO
13           v.                                            CONTINUE SENTENCING

14
                                                           Date: April 8, 2019
15    TERRY LEE WALLACE,                                   Time: 10:00 a.m.
                                                           Courtroom: 5
16                   Defendant.                            Hon. Dale A. Drozd
17
18           Defendant, TERRY LEE WALLACE and through his attorney of record, Anthony P.
19    Capozzi, and the United States Attorney by and through its representative Vincenza Rabenn,
20    hereby stipulate as follows:
21           1.      By previous order, this matter was set for sentencing on April 8, 2019, at 10:00
22    a.m.
23           2.      The parties agree and stipulate that Defendant requests this court to continue the
24    sentencing until April 29, 2019, at 10:00 a.m.
25           3.      The parties agree and stipulate, and request that the Court find the following:
26                   a. The Defendant pled guilty on January 22, 2019.
27                   b. Defense counsel will be out of town the entire week of February 18th and is
28           unable to meet with Probation for the pre-sentence interview.




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 1                    c. Parties need additional time to prepare and object to the Pre-Sentence
 2             Investigation Report.
 3                    d. The Government does not object to this continuance.
 4    IT IS SO STIPULATED.
 5
 6                                                Respectfully submitted,

 7     DATED:        February 19, 2019      By: /s/Anthony P. Capozzi
                                                ANTHONY P. CAPOZZI
 8                                              Attorney for Defendant TERRY LEE WALLACE
 9
10
       DATED:        February 19, 2019      By: /s/Vincenza Rabenn
11                                              VINCENZA RABENN
                                                Assistant United States Attorney
12
13
14
                                                   ORDER
15
               For reasons set forth above, the continuance requested by the parties is granted for good
16
      cause.
17
               IT IS ORDERED that the sentencing currently scheduled for April 8, 2019, at 10:00
18
      a.m. is continued to April 29, 2019, at 10:00 a.m.
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      IT IS SO ORDERED.
21
22       Dated:      February 19, 2019
                                                           UNITED STATES DISTRICT JUDGE
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